Case 6:25-cv-00098-PGB-LHP    Document 54    Filed 05/21/25   Page 1 of 2 PageID 322




                       UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


     JEAN LOUIS BARRETO-BAERGA,

                      Plaintiff,

     v.                                               Case No: 6:25-cv-98-PGB-LHP

     OSCEOLA COUNTY, MARCOS
     LOPEZ, DAVID CRAWFORD,
     CHRISTOPHER KOFFINAS, JOSEPH
     DE JESUS, ARTURO DOMINGUEZ
     and BENJAMIN MACLEAN,

                      Defendants




                                          ORDER
          Before the Court is an Unopposed Motion for Special Counsel. Doc. No. 53.

     On review, however, although labeled as “unopposed,” the motion otherwise fails

     to comply with Local Rule 3.01(g).     Accordingly, the motion (Doc. No. 53) is

     DENIED without prejudice.

          DONE and ORDERED in Orlando, Florida on May 21, 2025.
Case 6:25-cv-00098-PGB-LHP   Document 54    Filed 05/21/25   Page 2 of 2 PageID 323




     Copies furnished to:

     Counsel of Record
     Unrepresented Parties




                                           -2-
